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                            DECLARATION OF MONIQUE MAURICE

                I, Monique Maurice, declare as follows:

        1.      I am a resident of the State of Colorado. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Colorado Behavioral Health Administration as

 Chief Financial Officer.

        3.      As the Behavioral Health Administration Chief Financial Officer, I am

 responsible for the oversight, management and stewardship of all funds appropriated to the

 Colorado Behavioral Health Administration.

        4.      The Behavioral Health Administration, on March 24, 2025, received four award

 terminations from the U.S. Department of Health and Human Services, Substance Abuse and

 Mental Health Services Administration (SAMHSA). The total value of the terminated awards

 was $29,684,791. All terminations were “for cause” based on the end of the COVID pandemic,

 rather than failure of the Behavioral Health Administration to follow the terms or conditions of

 the grants. Each award termination provided on March 24, 2025, uses identical form language

 stating that, “[t]hese grants were issued for a limited purpose: To ameliorate the effects of the

 pandemic. The end of the pandemic provides cause to terminate COVID-related grants. Now

 that the pandemic is over, the grants are no longer necessary.”

        5.      On March 28, 2025, the Behavioral Health Administration received two

 additional termination notices from SAMHSA each stating it “supersedes” the prior respective

 notice of termination. The more recent terminations are also “for cause” based on the end of the
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 COVID pandemic, rather than failure of the Behavioral Health Administration to follow the

 terms or conditions of the grants. Using identical language, the more recent notices state that,

 “[t]he termination of this award is for cause. The block grant provisions at 42 U.S.C. §300x-55

 permit termination if the state ‘has materially failed to comply with the agreements or other

 conditions required for the receipt of a grant under the program involved.’ The end of the

 pandemic provides cause to terminate COVID-related grants and cooperative agreements.” The

 Descriptions of each award and the effects of these terminations follow.

 6. Substance Abuse Prevention & Treatment Block Grant (FAIN# B08TI083931) (First

    Grant for Prevention and Treatment)

        7.      In 2021, SAMHSA invited applications for the First Grant for Prevention and

 Treatment.

        8.      On May 18, 2021, SAMHSA issued guidance outlining the purpose of the award

 and recommended uses of funds. Guidance indicates that SAMHSA expects recipients of funds

 to improve and enhance substance use services to account for the societal stress and distress over

 the emerging pandemic. The guidance received recommended states use funds in the following

 ways: 1) Develop and expand the use of FDA-approved medications and digital therapeutics as a

 part of additional treatment that can provide interactive, evidence-based behavioral therapies for

 the treatment of opioid use disorders, alcohol use disorders, tobacco disorders, along with the

 implementation of other evidence-based treatments and practices; 2) Provide increased access for

 those in need of substance use disorder treatment services; 3) Direct critical resources in

 expanding broad-based state and local community strategies in addressing the overdose

 epidemic, involving prevention, intervention, treatment and recovery support services; 4)

 Improve information technology infrastructure to remotely meet with individuals in need of
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 services particularly in rural or frontier areas; 5) The adoption of health information technology

 to improve access and coordination of substance use disorder services; 6) Advance telehealth

 opportunities to expand services for hard-to-reach locations; 7) Enhance the primary prevention

 infrastructure within the state and communities using the Strategic Prevention Framework

 planning model and implementing the evidence-based practices; 8) Consider incorporating

 strategies around adverse childhood experiences to improve substance misuse outcomes among

 all populations; 9) Support expansion of peer-based recovery support services. ].

        9.      As set out in its grant proposal, the Behavioral Health Administration intended to

 use the First Grant for Prevention and Treatment to enhance services for primary prevention,

 address service gaps within Tribal populations related to substance use disorder, improved crisis

 interventions, increase access to substance use treatment modalities, increase access to recovery

 support services, reduce barriers to treatment admission, increase access to Medication Assisted

 Treatment, promote client engagement and retention in treatment and recovery support services,

 expand recovery residence capacity, and support substance use disorder clinical priorities and

 interoperable data exchange using standards outlined in 45 CFR 170 where applicable.

        10.      Colorado received a notice of award indicating the approval of the submitted

 application on September 17, 2021, and received $23,406,309 in support of the proposed

 projects. The initial project period established for the grant award was September 1, 2021

 through September 30, 2025, and the notice of award indicated 14 standard terms of award.

 Colorado was not planning on seeking an extension to the grant project period and planned to

 conclude spending on September 30, 2025.
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        11.       On May 17, 2021, SAMHSA produced a Notice of Award setting forth the terms

 and conditions of the grant award. A true and correct copy of the corresponding Notice of Award

 and its attachments, dated May 17, 2021, is attached as part of Exhibit A.

        12.       Since May 2021, the Behavioral Health Administration has used the First Grant

 for Prevention and Treatment grant funds in a manner fully consistent with SAMHSA’s

 statements regarding the nature of the grant and SAMHSA’s grant application.

        13.       Colorado has expended funds to address gaps in peer service provision within

 communities of need; improvements to the Colorado Crisis Line; expansion of recovery support

 services; peer services for individuals who are considered high acuity; recovery housing

 assistance; interventions for children, youth, and families; increased programming for pregnant

 women and women with dependent children; expansion of residential, involuntary commitment

 and withdrawal management services; enhanced primary prevention services; improvements to

 the Learning Management System; improvements for data interoperability; and strengthening

 Colorado’s behavioral health workforce. Funds are supporting the state’s most vulnerable

 populations and have been providing life-saving interventions through contracts with numerous

 subrecipients.

        14.       Recipients of funds are required to submit annual reports on December 1st of each

 year throughout the project period. Colorado has maintained compliance with this requirement

 and SAMHSA has not communicated any compliance concerns regarding this award.

        15.       On March 24, 2025, without any prior notice or indication, SAMHSA informed

 the Behavioral Health Administration that effective March 24, 2025 its First Grant for Prevention

 and Treatment was being terminated. A true and correct copy of the grant award termination

 notice is attached as Exhibit B.
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        16.     As basis for the termination of the First Grant for Prevention and Treatment,

 SAMHSA provided as follows:

                During the COVID-19 pandemic, the Substance Abuse and Mental
                Health Services Administration (SAMHSA) awarded several
                pandemic-related grants including the funded Coronavirus
                Preparedness and Response Supplemental Appropriations Act,
                2020 (H.R.6074) (CRRSA) which provided funds to respond to the
                coronavirus outbreak and the American Rescue Plan (ARP) Act of
                2021(H.R. 1319) which provided additional relief to address the
                continued impact of COVID-19 (i.e., coronavirus disease 2019) on
                the economy, public health, state and local governments,
                individuals, and businesses….

                On April 10, 2023, President Biden signed PL 188-3 terminating
                the national emergency concerning the COVID-19 pandemic.
                Consistent with the President’s Executive Order 14222,
                Implementing the President’s “Department of Government
                Efficiency” Cost Efficiency Initiative requiring a comprehensive
                review of SAMHSA grants, and where appropriate and consistent
                with applicable law, terminate such grants to reduce the overall
                Federal spending this grant is being terminated effective March 24,
                2025. These grants were issued for a limited purpose: To
                ameliorate the effects of the pandemic. The end of the pandemic
                provides cause to terminate COVID-related grants. Now that the
                pandemic is over, the grants are no longer necessary.

        17.     The receipt of the termination notice was irregular, as SAMHSA does not

 typically terminate grant awards that are within the period of performance without advance

 notice. The notice of termination was received during business hours within Colorado; however,

 the notice was sent outside of SAMHSA’s business hours at 5:38pm Eastern Time.

        18.     The Behavioral Health Administration relied and acted upon its expectation and

 understanding that SAMHSA would fulfill its commitment to provide the First Grant for

 Prevention and Treatment funding it had awarded to the Behavioral Health Administration. The

 Behavioral Health Administration has relied on the availability of these funds to support

 vulnerable populations in need of increased behavioral health support and the lack of prior notice

 and sudden termination of funding will have a negative impact on subrecipients and citizens of
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 Colorado. The inability for subrecipients to access funds obligated in State Fiscal Year 2025

 contracts will result in financial hardship for subrecipients, unexpected reductions in workforce,

 and a significant and sudden reduction in behavioral health service access.

        19.     The termination of funds will result in harmful impacts to all communities

 throughout the state of Colorado, and will have a particularly negative impact on the most

 vulnerable, including individuals experiencing a behavioral health crisis; high risk children,

 youth and families; pregnant women and women with dependent children in need of substance

 use services; individuals at risk of fatality due to overdose; increased risk of homelessness for

 individuals residing in recovery residences; and individuals who receive substance use treatment

 services.

        20.     Prior to the grant award termination on March 24, 2025, SAMHSA did not

 provide the Behavioral Health Administration with notice, written or otherwise, that the

 FirstGrant for Prevention and Treatment administered by the Behavioral Health Administration

 was in any way unsatisfactory.

 21. Substance Abuse Prevention & Treatment Block Grant (FAIN# B08TI084572) (Second

    Grant for Prevention and Treatment)

        22.     In 2021, SAMHSA invited applications for the Second Grant for Prevention and

 Treatment.

        23.     On August 10, 2021, SAMHSA issued guidance to states which indicated funding

 was being provided to states to expand testing and mitigation resources to prevent, prepare for,

 and respond to COVID-19, particularly for people with substance use disorders seeking

 behavioral health interventions. SAMHSA provided a list of examples of allowable expenses,

 and further indicated that the list of examples they provided was not exhaustive. The guidance
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 provided that any activity not included on the list must be directly related to COVID-19 testing

 and mitigation. The list of examples includes the following: 1) Coordinating with state and local

 health departments to determine how to better align COVID-19 mitigation efforts; 2) Testing

 education, establishment of testing sites, test result processing, and engaging in other activities

 within the CDC Mitigation Framework to address COVID-19; 3) Rapid onsite COVID-19 testing

 and facilitation of access to testing services and facilitating access to behavioral health services;

 4) Behavioral health services for those in short-term housing for people who are at high risk for

 infection; 5) Testing for staff and consumers in shelters, group homes, residential treatment

 facilities, day programs, and room and board programs; to include purchase of resources for

 ongoing testing, hire workers to coordinate resources, and to procure COVID tests and other

 mitigation supplies such as handwashing stations, hand sanitizer, and masks; 6) Funds may be

 used to relieve the financial costs for the administration of tests and the purchasing of supplies

 necessary for administration such as personal protective equipment, supporting mobile mental

 health units; 7) Utilizing networks to promote awareness of the availability of funds, assist with

 providers with accessing funds, and ensure resources to mitigate COVID-19 are accessible in

 under-served, under-resourced, and marginalized communities; 8) Expanding local or tribal

 programs to implement COVID-response services for those connected to behavioral health

 services; 9) Providing subawards to eligible entities for programs within the state that are

 designed to reduce the impact of substance abuse and mental illness; funding could be used for

 administrative expenses of the facilities to provide onsite testing and mobile health services; 10)

 Implementing strategies to address consumer hesitancy around testing; 11) Install temporary

 structures to support testing and mitigation; 12) Education, rehabilitation, prevention, treatment

 and support services for symptoms occurring after recovery from acute COVID-19; 13) Other
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 activities to promote COVID-19 testing; 14) Promoting behaviors that prevent the spread of

 COVID-19; 15) Maintaining healthy environments (clean and disinfect, proper ventilation

 systems, barriers to support social distancing); 16) Behavioral health services to staff working as

 contract tracers; 17) Working with consumers to discuss test results, provide instructions for self-

 isolation, and access patient symptom history; and 18) Conducting contract tracing to notify

 individuals of their potential contact to the COVID-19 virus. .

          24.   As set out in its grant proposal, the Behavioral Health Administration intended to

 use the Second Grant for Prevention and Treatment to provide COVID-19 testing and mitigation

 to substance use treatment and behavioral health crisis organizations to enhance the safety of

 consumers and reduce the risk of infection.

          25.    Colorado received a notice of award on August 10, 2021 indicating approval of

 Colorado's proposed activities and awarded $970,369 to use within the project period of

 September 1, 2021 through September 30, 2025. The Behavioral Health Administration was not

 planning to seek an extension of the grant. The notice of award indicated 16 standard terms of

 award.

          26.   On August 10, 2021, SAMHSA produced a Notice of Award setting forth the

 terms and conditions of the grant award. A true and correct copy of the corresponding Notice of

 Award and its attachments is attached as part of Exhibit A.

          27.   Since September 2021, the Behavioral Health Administration has used the Second

 Grant for Prevention and Treatment grant funds in a manner fully consistent with SAMHSA’s

 statements regarding the nature of the grant and SAMHSA’s grant application.

          28.   Funds have been expended to prevent the spread of COVID-19 within Colorado’s

 network of substance use disorder and crisis service organizations through the purchase of
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 personal protective equipment, testing supplies, and sanitation supplies such as hand sanitizer

 and disinfecting wipes.

        29.     This award requires recipients to submit annual reports by December 31

 throughout the period of performance. Colorado has maintained compliance with this

 requirement and all reports have been accepted by SAMHSA without revision.

        30.     On March 24, 2025, without prior notice or indication, SAMHSA informed the

 Behavioral Health Administration that effective March 24, 2025 its Second Grant for Prevention

 and Treatment was being terminated. Then, on March 28, 2025, SAMHSA provided a second

 notice of termination providing that it, “replaces and supersedes the previous notice.” True and

 correct copies of the grant award termination notices are attached as Exhibits B and C.

        31.     As basis for the termination of the Second Grant for Prevention and Treatment,

 SAMHSA provided in the First Notice of Termination as follows:

                During the COVID-19 pandemic, the Substance Abuse and Mental
                Health Services Administration (SAMHSA) awarded several
                pandemic-related grants including the funded Coronavirus
                Preparedness and Response Supplemental Appropriations Act,
                2020 (H.R.6074) (CRRSA) which provided funds to respond to the
                coronavirus outbreak and the American Rescue Plan (ARP) Act of
                2021(H.R. 1319) which provided additional relief to address the
                continued impact of COVID-19 (i.e., coronavirus disease 2019) on
                the economy, public health, state and local governments,
                individuals, and businesses….

                On April 10, 2023, President Biden signed PL 188-3 terminating
                the national emergency concerning the COVID-19 pandemic.
                Consistent with the President’s Executive Order 14222,
                Implementing the President’s “Department of Government
                Efficiency” Cost Efficiency Initiative requiring a comprehensive
                review of SAMHSA grants, and where appropriate and consistent
                with applicable law, terminate such grants to reduce the overall
                Federal spending this grant is being terminated effective March 24,
                2025. These grants were issued for a limited purpose: To
                ameliorate the effects of the pandemic. The end of the pandemic
                provides cause to terminate COVID-related grants. Now that the
                pandemic is over, the grants are no longer necessary.
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        32.     As basis for the termination of the Second Grant for Prevention and Treatment,

 SAMHSA provided in the Second Notice of Termination as follows:

                During the COVID-19 pandemic, the Substance Abuse and Mental Health
                Services Administration (SAMHSA) awarded several pandemic-related
                grants funded by the Coronavirus Response and Relief Supplemental
                Appropriations Act (CRRSA) which provided funds to respond to the
                coronavirus outbreak and the American Rescue Plan (ARP) Act which
                provided additional relief to address the continued impact of COVID-19.
                The termination of this award is for cause. The block grant provisions at
                42 U.S.C. §300x-55 permit termination if the state “has materially failed
                to comply with the agreements or other conditions required for the receipt
                of a grant under the program involved.” The end of the pandemic
                provides cause to terminate COVID-related grants and cooperative
                agreements. These grants and cooperative agreements were issued for a
                limited purpose: to ameliorate the effects of the pandemic. Now that the
                pandemic is over, the grants and cooperative agreements are no longer
                necessary as their limited purpose has run out. Termination of this award
                is effective as of 11:59PM EDT, March 24, 2025.
        33.     The receipt of the termination notice was irregular, as SAMHSA does not

 typically terminate grant awards that are within the period of performance without advance

 notice. The notice of termination was received during business hours within Colorado; however,

 the notice was sent outside of SAMHSA’s business hours at 5:38pm Eastern Time..

        34.     The Behavioral Health Administration relied and acted upon its expectation and

 understanding that SAMHSA would fulfill its commitment to provide the Second Grant for

 Prevention and Treatment funding it had awarded to the Behavioral Health Administration. The

 Behavioral Health Administration has relied on the expectation of these funds to prevent risk of

 infection to consumers of services and providers of services. The inability for subrecipients to

 access funds obligated for the remainder of State Fiscal Year 2025 will result in a reduction in

 activities to prevent the infection. Losing this funding will result in staff layoffs and a reduction

 in services for clients. Without these supports, clients may decompensate and increase the

 likelihood of being in and out of hospitals, jails and homeless shelters. In addition, they are more
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 likely to turn to substance abuse and experience those consequences. Currently, the Behavioral

 Health Administration is aware of 680 clients in Assertive Community Treatment programs that

 will be impacted by this funding cut. The loss of this funding will result in staff layoffs and

 reduction or elimination of critical services for many who have just left treatment, incarceration,

 or houselessness and an overall loss in service for those struggling with behavioral health crises

 and Individuals experiencing longer wait times to talk to crisis specialists. This will negatively

 impact 250+ individuals annually. Further, Coloradans will have significantly reduced access to

 life-saving naloxone which is used to reduce/prevent death from opioid overdose, which directly

 conflicts with the Opioid Crisis Public Health Emergency declared by HHS Secretary Robert F

 Kennedy Jr on March 18, 2025.

        35.     Prior to the grant award termination on March 24, 2025, SAMHSA did not

 provide the Behavioral Health Administration with notice, written or otherwise, that the Second

 Grant for Prevention and Treatment administered by the Behavioral Health Administration was

 in any way unsatisfactory.

 36. Block Grants for Community Mental Health Services (FAIN# B09SM085338) (First

    Grant for Community MHS)

        37.     In 2021, SAMHSA invited applications for the First Grant for Community MHS.

        38.     SAMHSA indicated States must spend the Mental Health Block Grant (MHBG)

 funds based on 42 U.S.C. Chapter 6A, Subchapter XVII, Part B, Subpart I: Block Grants for

 Community Mental Health Services for adults with serious mental illness (SMI) and children

 with serious emotional disturbance (SED). Consistent with HHS Disaster Relief Flexibilities,

 SAMHSA may waive requirements with respect to allowable activities, timelines, or reporting

 requirements for the MHBG, as deemed necessary to facilitate a grantee’s response to
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 coronavirus. SAMHSA recommended states use the grant funds to develop or enhance the

 following: 1) Develop partnerships with the emerging Suicide Lifeline (9-8-8) systems, Law

 Enforcement, EMS, health care providers, housing authorities, Housing and Urban Development

 (HUD) Continuum of Care, hospital systems, peer-based recovery organizations, and substance

 use specific treatment providers, all of whom have a critical role in the crisis continuum; 2)

 Utilize five percent of funds for crisis services; 3) A comprehensive 24/7 crisis continuum for

 children including screening and assessment; mobile crisis response and stabilization; residential

 crisis services; psychiatric consultation; referrals and warm hand-offs to home- and community-

 based services; and ongoing care coordination; 4) Provide increased outpatient access, including

 same-day or next-day appointments, for those in crisis; 5) Improve information technology

 infrastructure, including the availability of broadband and cellular technology for providers,

 especially in rural and frontier areas; use of GPS, to expedite response times, and to remotely

 meet with the individual in crisis; 6) The adoption and use of health information technology,

 such as electronic health records, to improve access to and coordination of behavioral health

 services and care delivery; 7) Consider digital platforms, such as Network of Care, which

 facilitate access to behavioral health services for persons with SMI-SED; 8) Advance telehealth

 opportunities to expand crisis services for hard to reach locations, especially rural and frontier

 areas. Expand technology options for callers, including the use of texting, telephone, and

 telehealth. Note: States cannot use the funds to purchase any items for consumers/clients; 9)

 Implement an electronic bed registry that coordinates with existing HHS provider directory

 efforts and treatment locator system that will help people access information on crisis bed

 facilities, including their locations, available services, and contact information; 10) Support for

 crisis and school-based services that promote access to care for children with SED; 11)Develop
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 medication-assisted treatment (MAT) protocols to assist children and adults who are in crisis,

 which may leverage telehealth when possible; 12) Expand Assisted Outpatient Treatment (AOT)

 services; 13) Develop outpatient intensive Crisis Stabilization Teams to avert and address crisis;

 and 14) Technical Assistance for the development of enhanced treatment and recovery support

 services including planning for Certified Community Behavioral Health Clinics.

        39.     As set out in its grant proposal, the Behavioral Health Administration intended to

 use the First Grant for Community MHS to provide increased peer support services within under-

 resourced communities, high-acuity individuals, and justice-involved individuals; improvements

 to the Learning Management System; strengthen Colorado’s behavioral health workforce;

 expand local and regional behavioral health disorder treatment and recovery programs; expand

 safety net services for enhanced outpatient and/or comprehensive behavioral health services;

 expansion of Individual Placement and Support services; expansion of recovery housing access;

 expansion of mobile crisis response; improvements to rural facility-based crisis services; bridge

 gaps in perinatal behavioral healthcare for pregnant women and postpartum women; expand First

 Episode of Psychosis programming; increase availability of Assertive Community Treatment;

 and increased interventions for children, youth and families. The programs funded by this grant

 are supporting vulnerable individuals throughout the state and provide life-saving interventions

 to individuals experiencing behavioral health emergencies.

        40.      A notice of award was issued for this grant on May 17, 2021, in the amount of

 $28,051,679 and the notice included 15 standard grant terms. The project period for the award

 was September 1, 2021 through September 30, 2025. The Behavioral Health Administration was

 not planning to seek an extension of this grant.
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        41.     On May 17, 2021, SAMHSA produced a Notice of Award setting forth the terms

 and conditions of the grant award. A true and correct copy of the corresponding Notice of Award

 and its attachments is attached as part of Exhibit A.

        42.     Since September 2021, the Behavioral Health Administration has used the First

 Grant for Community MHS grant funds in a manner fully consistent with SAMHSA’s statements

 regarding the nature of the grant and SAMHSA’s grant application.

        43.     Colorado has expended funds as described in the initial application by providing

 increased peer support services within under-resourced communities, high-acuity individuals,

 and justice-involved individuals; making improvements to the Learning Management System;

 strengthening Colorado’s behavioral health workforce; expanding local and regional behavioral

 health disorder treatment and recovery programs; expanding safety net services for enhanced

 outpatient and/or comprehensive behavioral health services; expansion of Individual Placement

 and Support services; expansion of recovery housing access; expansion of mobile crisis

 response; improvements to rural facility-based crisis services; bridging gaps in perinatal

 behavioral healthcare for pregnant women and postpartum women; expanding First Episode of

 Psychosis programming; increasing availability of Assertive Community Treatment; and

 increasing interventions for children, youth and families.

        44.     Recipients of funds are required to submit annual reports on December 1st

 throughout the period of performance. Behavioral Health Administration has maintained

 compliance with this requirement and SAMHSA has approved the reports that have been

 submitted. The federal project officer assigned to this grant has met with the Behavioral Health

 Administration on a monthly basis to review spending data and uses of funds; no issues have

 been raised during these regular meetings.
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        45.     On March 24, 2025, without any prior notice or indication, SAMHSA informed

 the Behavioral Health Administration that effective March 24, 2025 its First Grant for

 Community MHS was being terminated. A true and correct copy of the grant award termination

 notice is attached as Exhibit B.

        46.     As basis for the termination of the First Grant for Community MHS, SAMHSA

 provided as follows:

                During the COVID-19 pandemic, the Substance Abuse and Mental
                Health Services Administration (SAMHSA) awarded several
                pandemic-related grants including the funded Coronavirus
                Preparedness and Response Supplemental Appropriations Act,
                2020 (H.R.6074) (CRRSA) which provided funds to respond to the
                coronavirus outbreak and the American Rescue Plan (ARP) Act of
                2021(H.R. 1319) which provided additional relief to address the
                continued impact of COVID-19 (i.e., coronavirus disease 2019) on
                the economy, public health, state and local governments,
                individuals, and businesses….

                On April 10, 2023, President Biden signed PL 188-3 terminating
                the national emergency concerning the COVID-19 pandemic.
                Consistent with the President’s Executive Order 14222,
                Implementing the President’s “Department of Government
                Efficiency” Cost Efficiency Initiative requiring a comprehensive
                review of SAMHSA grants, and where appropriate and consistent
                with applicable law, terminate such grants to reduce the overall
                Federal spending this grant is being terminated effective March 24,
                2025. These grants were issued for a limited purpose: To
                ameliorate the effects of the pandemic. The end of the pandemic
                provides cause to terminate COVID-related grants. Now that the
                pandemic is over, the grants are no longer necessary.

        47.     The receipt of the termination notice was irregular, as SAMHSA does not

 typically terminate grant awards that are within the period of performance without any advance

 notice. The notice of termination was received during business hours within Colorado; however,

 the notice was sent outside of SAMHSA’s business hours at 5:39pm Eastern Time.

        48.     The Behavioral Health Administration relied and acted upon its expectation and

 understanding that SAMHSA would fulfill its commitment to provide the First Grant for
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 Community MHS funding it had awarded to the Behavioral Health Administration. The

 Behavioral Health Administration has relied on the availability of these funds to support

 vulnerable populations in need of increased behavioral health support and the lack of prior notice

 and sudden termination of funding will have a drastic impact on subrecipients and citizens of

 Colorado. The inability for subrecipients to access funds obligated in State Fiscal Year 2025

 contracts will result in financial hardship for subrecipients, reduction in workforce, and a

 significant and sudden reduction in behavioral health service access.

        49.     The termination of funds will result in a harmful impact to all communities

 throughout the state of Colorado, and will have a particularly negative impact on the most

 vulnerable, including individuals experiencing a behavioral health crisis; high risk children,

 youth and families; individuals with serious mental illness; increased risk of homelessness for

 individuals residing in recovery residences; and individuals who are receiving or seeking

 behavioral health services. The untimely termination of this award will have a significant impact

 on the ability to operate the crisis continuum throughout the state and will impact Colorado’s

 behavioral health work force, as the loss of these funds will likely result in a reduction in force

 within direct service providers throughout the state.

        50.     Prior to the grant award termination on March 24, 2025, SAMHSA did not

 provide the Behavioral Health Administration with notice, written or otherwise, that the First

 Grant for Community MHS administered by the Behavioral Health Administration was in any

 way unsatisfactory.

 51. Block Grants for Community Mental Health Services (FAIN# B09SM085865) (Second

    Grant for Community MHS)
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        52.     In 2021, SAMHSA invited applications for the Second Grant for Community

 MHS.

        53.     On August 10, 2021, SAMHSA issued guidance to states which indicated funding

 was being provided to states to expand testing and mitigation resources to prevent, prepare for,

 and respond to COVID-19, particularly for people with substance use disorders seeking

 behavioral health interventions. SAMHSA provided a list of examples of allowable expenses and

 further indicated that the list of examples they provided was not exhaustive. The guidance

 furthered that any activity not included on the list must be directly related to COVID-19 testing

 and mitigation. The list of examples includes the following: 1) coordinate with state and local

 health departments to determine how to better align COVID-19 mitigation efforts; 2) testing

 education, establishment of testing sites, test result processing, and engaging in other activities

 within the CDC Mitigation Framework to address COVID-19; 3) rapid onsite COVID-19 testing

 and facilitation of access to testing services and facilitating access to behavioral health services;

 4) behavioral health services for those in short-term housing for people who are at high risk for

 infection; 5) testing for staff and consumers in shelters, group homes, residential treatment

 facilities, day programs, and room and board programs to include purchase of resources for

 ongoing testing, hire workers to coordinate resources, and to procure COVID tests and other

 mitigation supplies such as handwashing stations, hand sanitizer, and masks; 6) funds may be

 used to relieve the financial costs for the administration of test and the purchasing of supplies

 necessary for administration such as personal protective equipment, supporting mobile mental

 health units; 7) utilize networks to promote awareness of the availability of funds, assist with

 providers with accessing funds, and ensure resources to mitigate COVID-19 are accessible in

 under-served, under-resourced, and marginalized communities; 8) expanding local or tribal
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 programs to implement COVID-response services for those connected to behavioral health

 services; 9) provide subawards to eligible entities for programs within the state that are designed

 to reduce the impact of substance abuse and mental illness; funding could be used for

 administrative expenses of the facilities to provide onsite testing and mobile health services; 10)

 implement strategies to address consumer hesitancy around testing; 11) install temporary

 structures to support testing and mitigation; 12) education, rehabilitation, prevention, treatment

 and support services for symptoms occurring after recovery from acute COVID-19; 13) other

 activities to promote COVID-19 testing; 14) promote behaviors that prevent the spread of

 COVID-19; 15) maintain healthy environments (clean and disinfect, proper ventilation systems,

 barriers to support social distancing); 16) behavioral health services to staff working as contract

 tracers; 17) work with consumers to discuss test results, provide instructions for self-isolation,

 and access patient symptom history; and 18) conduct contact tracing to notify individuals of their

 potential contact to the COVID-19 virus.

           54.   As set out in its grant proposal, the Behavioral Health Administration intended to

 use the Second Grant for Community MHS to provide COVID-19 testing and mitigation funds to

 mental health and behavioral health crisis organizations to enhance the safety of consumers and

 reduce the risk of infection.

           55.   Colorado received a notice of award on August 10, 2021 indicating approval of

 Colorado's proposed activities and awarded $965,361 to use within the project period of

 September 1, 2021 through September 30, 2025. The Behavioral Health Administration was not

 planning to seek an extension of the grant. The notice of award indicated 15 standard terms of

 award..
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        56.     On August 10, 2021, SAMHSA produced a Notice of Award setting forth the

 terms and conditions of the grant award. A true and correct copy of the corresponding Notice of

 Award and its attachments are attached as part of Exhibit A.

        57.     Since September 2021, the Behavioral Health Administration has used the Second

 Grant for Community MHS grant funds in a manner fully consistent with SAMHSA’s statements

 regarding the nature of the grant and SAMHSA’s grant application.

        58.     Funds have been expended to prevent the spread of COVID-19 within Colorado’s

 network of substance use disorder and crisis service organizations through the purchase of

 personal protective equipment, testing supplies, and sanitation supplies such as hand sanitizer

 and disinfecting wipes.

        59.     This award requires recipients to submit annual reports by December 31

 throughout the period of performance. Colorado has maintained compliance with this

 requirement and all reports have been accepted by SAMHSA without revision.

        60.     On March 24, 2025, without any prior notice or indication, SAMHSA informed

 the Behavioral Health Administration that effective March 24, 2025 its Second Grant for

 Community MHS was being terminated. Then, on March 28, 2025, SAMHSA provided a second

 notice of termination providing that it, “replaces and supersedes the previous notice.” True and

 correct copies of the grant award termination notices are attached as Exhibits B and C.

        61.     As basis for the termination of the Second Grant for Community MHS, SAMHSA

 provided in the First Notice of Termination as follows:

                During the COVID-19 pandemic, the Substance Abuse and Mental
                Health Services Administration (SAMHSA) awarded several
                pandemic-related grants including the funded Coronavirus
                Preparedness and Response Supplemental Appropriations Act,
                2020 (H.R.6074) (CRRSA) which provided funds to respond to the
                coronavirus outbreak and the
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               2021(H.R. 1319) which provided additional relief to address the
               continued impact of COVID-19 (i.e., coronavirus disease 2019) on
               the economy, public health, state and local governments,
               individuals, and businesses….

               On April 10, 2023, President Biden signed PL 188-3 terminating
               the national emergency concerning the COVID-19 pandemic.
               Consistent with the President’s Executive Order 14222,
               Implementing the President’s “Department of Government
               Efficiency” Cost Efficiency Initiative requiring a comprehensive
               review of SAMHSA grants, and where appropriate and consistent
               with applicable law, terminate such grants to reduce the overall
               Federal spending this grant is being terminated effective March 24,
               2025. These grants were issued for a limited purpose: To
               ameliorate the effects of the pandemic. The end of the pandemic
               provides cause to terminate COVID-related grants. Now that the
               pandemic is over, the grants are no longer necessary.

        62.    As basis for the termination of the Second Grant for Community MHS, SAMHSA

 provided in the Second Notice of Termination as follows:

               During the COVID-19 pandemic, the Substance Abuse and Mental Health
               Services Administration (SAMHSA) awarded several pandemic-related
               grants funded by the Coronavirus Response and Relief Supplemental
               Appropriations Act (CRRSA) which provided funds to respond to the
               coronavirus outbreak and the American Rescue Plan (ARP) Act which
               provided additional relief to address the continued impact of COVID-19.
               The termination of this award is for cause. The block grant provisions at
               42 U.S.C. §300x-55 permit termination if the state “has materially failed
               to comply with the agreements or other conditions required for the receipt
               of a grant under the program involved.” The end of the pandemic
               provides cause to terminate COVID-related grants and cooperative
               agreements. These grants and cooperative agreements were issued for a
               limited purpose: to ameliorate the effects of the pandemic. Now that the
               pandemic is over, the grants and cooperative agreements are no longer
               necessary as their limited purpose has run out. Termination of this award
               is effective as of 11:59PM EDT, March 24, 2025.
        63.    The receipt of the termination notice was irregular, as SAMHSA does not

 typically terminate grant awards that are within the period of performance without advance

 notice. The notice of termination was received during business hours within Colorado; however,

 the notice was sent outside of SAMHSA’s business hours at 5:39pm Eastern Time..
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        64.      The Behavioral Health Administration relied and acted upon its expectation and

 understanding that SAMHSA would fulfill its commitment to provide the Second Grant for

 Community MHS funding it had awarded to the Behavioral Health Administration. The

 Behavioral Health Administration has relied on the expectation of these funds to prevent risk of

 infection to consumers of services and providers of services. The inability for subrecipients to

 access funds obligated in State Fiscal Year 2025 contracts will result in a reduction in activities

 to prevent the infection.

        65.      SAMHSA’s funding termination will impact 68 BHA grantees around the State of

 Colorado that provide necessary, sometimes lifesaving, services to vulnerable Coloradoans

 experiencing serious mental illness and/or substance use disorders. The termination notices will

 have a devastating impact on the services these agencies provide. Some of the agencies

 negatively affected by termination of these grant funds include, but are not limited to, the

 following:

        •     Assertive Community Treatment (ACT) programs are designed to serve adults with

              serious mental illness who have not responded well to traditional treatment. This is an

              evidence- based practice proven to reduce hospitalizations, emergency department

              visits and law enforcement contacts. Most of these clients are covered by Medicaid.

              Medicaid reimbursement does not cover the full cost of providing this care. The BHA

              used the terminated funds to help these providers meet the increased demand for this

              vital service. Losing these funds will likely result in staff layoffs and a reduction in

              services for clients. Currently, there are 680 clients in ACT programs around

              Colorado that will be negatively impacted by termination of these funds.
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       •   At least six providers have used these funds to expand or implement the evidence

           based, Individual Placement and Support model of supported employment. This

           program helps people with serious mental illness or those with mental illness and co-

           occurring substance use disorders to find competitive employment in their

           community. The seven programs funded by these grants have served upwards of 500

           people throughout Colorado. Four out of the seven programs serve rural areas that

           generally have fewer resources to serve its citizens with mental illnesses or substance

           use disorders. This program reduces symptoms, as well as the amount of behavioral

           health services needed for participants and connects employers with needed

           employees. Losing these funds will result in staff layoffs and reduction or elimination

           of this service for clients through these agencies.

       •   The BHA’s regional Administrative Services Organizations (ASOs) and starting in

           July 2025, our BHASOs, manage the affected funds to support the pilot Crisis

           Resolution Teams (CRT) project. CRTs provide intensive in-home services to

           families with a youth experiencing a mental health crisis. Well over 90% of the

           families who have received CRT services avoided an out of home placement. This

           program was started originally with state funding. When that funding was eliminated,

           the BHA prioritized continuation with both our standard Block Grant as well as Block

           Grant Stimulus funding. The loss of the stimulus funding may result in the

           termination of these programs which are used by families currently receiving

           services.

       •   Funding affected by the recent termination is also used to support Mobile Crisis

           Response. This is a service that can be dispatched by our 988 and Colorado Crisis
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           Line vendor in Colorado. When indicated, a paired response of crisis professionals

           can respond to a person’s home. They respond within 1 hour in urban areas and

           within 2 hours in rural areas. Loss of the affected funding will put strain on the

           providers to be able to maintain these response rates. While core (ongoing) block

           grant dollars are dedicated for this purpose, and the 988 Enterprise Board has

           dedicated funding from the terminated grants for this year, the immediate impact of

           losing these funds may mean service interruptions for the duration of the grant term.

           Without this service, people may rely on 91, Emergency Department servies and a

           potential increase in may see suicide deaths rates due to lack of mobile crisis

           responses.

       •   Affected funds are also used to support people in recovery with the cost of their stay

           in a Colorado Agency for Recovery Residence (CARR) certified recovery residence

           when they cannot afford it themselves. Funds used towards CARR costs support the

           most vulnerable and financially unstable with a scholarship to help remove financial

           barriers to treatment. Removal of financial barriers allows individuals to focus on

           sobriety and treatment goals, as opposed to scrambling to cover rent. Many of these

           individuals have just left treatment, incarceration, or houselessness. Scholarships

           provide a bridge during this transition period, creating stability for the residence. The

           BHA manages roughly $4M in state funding for this purpose to support the program’s

           demand. The loss of these funds will reduce the amount of people served. Our

           MSOs/BHASOs will need to increase eligibility limits to maximize the reduced

           funding.
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       •   Peer Support for the Latin X population: The affected funding also supports Peer

           Support for the Latin X population. This program was created to provide Peer

           Support Specialists for the Spanish speaking community. Peer Support Specialists

           have lived experience and have a unique way of helping this population by building

           authentic relationships based on shared experiences. This work strengthens long term

           recovery, promoting wellness, and restores trust in systems. Peer Support programs

           also bolster the Latinx community by strengthening and expanding community bonds

           and fostering belonging. Loss of the affected funds will likely result in layoffs and a

           loss of important recovery support services for this vulnerable population. These

           funds were also awarded to a few grantees providing direct peer support services to

           vulnerable populations. Loss of these funds will likely result in staff layoffs for these

           vendors and a loss of necessary services for vulnerable populations.

       •   Ascent provides community-based and evidence-based treatment services and

           supports to youth and young adults 15-29 years old who have experienced an early

           onset of psychotic spectrum illness. Early intervention is critical to treating serious

           mental illness before it causes tragic results like serious impairment, unemployment,

           homelessness, poverty, and suicide. Earlier intervention not only reduces acute

           symptoms but may also improve long-term prognosis. Ascent serves about 250 clients

           per year. The goal of Ascent is to quickly stabilize and reduce symptoms of

           psychosis. Ascent provides the following services: individual, family, and group

           therapy; family education and support; case management; specialist education and

           employment services; nurse support; medication management; peer support; and

           community outreach and education. HR1319 funds provide about 35% of the total
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           budget of Ascent and are included in the budgets of nine of the eleven Ascent

           providers. The immediate impact of losing this funding is profound. Community

           members who are in critical need of support will find themselves without a reliable

           safety net during moments of vulnerability. This disruption can lead to an increase in

           mental health crisis, relapse rates, and general erosion of trust in community-based

           health services. The peer support specialist, trained in trauma-informed care, will lose

           their positions, which not only disrupts the lives of these skilled workers but also

           diminishes the community’s capacity to respond effectively to crises. Individuals will

           lose access to their existing treatment providers. In the long term, the cessation of

           this funding undermines the sustainability of recovery and wellness initiatives. The

           community risks losing a critical support system that has been pivotal in reducing

           stigma, promoting culturally relevant care, and fostering connections among

           individuals in recovery. At least several hundred community members who rely on

           this program for stability and support are now at risk of experiencing setbacks in their

           recovery and overall mental well-being which affects both individuals and their

           broader networks of families and community structures who depend on these

           services.

       •   Naloxone Bulk Purchase Fund: The purpose of the Naloxone Bulk Purchase Fund

           is to provide life-saving naloxone to eligible entities based on a priority plan within

           the State of Colorado. The terminated funding amounts to approximately 100,000 kits

           of life-saving naloxone which is used to reverse opioid overdoses that will result in

           death. Each kit contains two 4mg intranasal spray doses of naloxone. The Bulk Fund

           provides naloxone to local government agencies, school districts, harm reduction
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            agencies, law enforcement, first responders, correctional facilities, probation

            departments, and mental health professionals. The Bulk Fund is a lifesaving resource

            for Coloradans who, without it, will have significantly reduced access to life saving

            naloxone to reduce opioid overdose deaths. This directly conflicts with responding to

            the ongoing Opioid Crisis Public Health Emergency as declared by HHS Secretary

            Robert F Kennedy Jr on March 18, 2025. In the short term, loss of these funds will

            lead to reduced access to naloxone for entities that serve people who use opioids and

            subsequently people will die preventable deaths.



    66.         The BHA has utilized affected funding (Stimulus Block Grants, HR1319) to

 purchase the following services. Funding cuts for each of these programs will mean fewer

 individuals are served or programs will be entirely terminated:



    ● Tough As A Mother Campaign efforts

            ○ The purpose of the Tough as a Mother campaign is to decrease stigma around

                maternal substance use disorder, to educate Colorado communities and providers

                about maternal substance use disorder, and to increase awareness and utilization

                of statewide treatment and recovery resources by two priority populations: women

                with substance use disorder who have dependent children, and pregnant women

                with substance use disorder.

    ● High Acuity Peers
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          ○ The purpose of this section is to provide peer navigator services for all

             Involuntary Commitment clients, pregnant and parenting women, and other high

             acuity clients if capacity allows.

    ● High Risk Families

          ○ Funding is used to provide services to high-risk parents, including pregnant and

             parenting women, with substance use disorders and for services for high-risk

             families including pregnant and parenting women.

    ● Recovery Supports Services

          ○ The purpose of this project is to provide Recovery Support Service resources for

             substance use disorder (SUD) treatment providers, allied health organizations and

             other contracted/sub-contracted entities to deliver peer delivered recovery support

             services.

    ● Recovery Housing Assistance

          ○ The aim is to provide housing stability for people in recovery from a substance use

             disorder in a certified Colorado recovery residence. These funds are to support

             Colorado residents who are in recovery from a substance use disorder who

             temporarily are unable to afford the costs associated with living in a recovery

             residence located in Colorado.

    ● Individualized Placement Support (IPS)

          ○ The purpose of this is to increase competitive employment for individuals

             diagnosed with a substance use disorder (SUD) who are receiving services

             through a (SUD) treatment facility and to assist those individuals to live

             successfully in their communities.
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    ● Recovery Residence Expansion

          ○ The purpose of this project is to expand democratically run, chartered Oxford

              Houses, recovery residences, with specific priority to creating houses for women

              with children in proximity to existing Special Connections and other gender

              responsive treatment programs.

    ● Workforce Support/Expansion

          ○ The purpose of this project is to expand the Behavioral Healthcare workforce,

              specifically, Certified and Licensed Addiction Counselors and Colorado Peer and

              Family Specialists.

    ● Recovery Coach Doula Programming

          ○ The purpose of this Article is to create a preliminary blueprint to scale-up the

              University of Colorado College of Nursing Recovery Coach Doulas Program to

              provide care for Pregnant and Postpartum Individuals in Colorado (Scaling-up

              RCDs). The project will expand evidence-based recovery services for women

              with substance use disorder (SUD) for under- and uninsured individuals during

              pregnancy and through 12 months postpartum.

    ● Programs that strengthen and integrate local behavioral health services for

       pregnant and newly parenting families in multiple rural counties: Services include

       comprehensive behavioral health and social needs screening, intervention and referrals to

       treatment. This cease in funding cuts all community-based work for the remainder of

       FY25 in Eagle, Mesa and Montrose counties. Immediate harms include:
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    -   Loss of care navigation services for approximately 435 pregnant and/or postpartum

        families with behavioral health and/or social needs.

    -   Loss of peer support coaches for pregnant and parenting women with substance use

        disorder

    -   Discontinuation of a perinatal substance use stigma reduction campaign (Tough as a

        Mother) with localized messaging, working to outreach pregnant and parenting mothers.

    -   Loss of technical assistance for outpatient medical clinics (OB/GYN, Pediatric, Family

        Medicine) working to implement SBIRT for behavioral health into the clinics which

        impacts 500 opportunities to screen perinatal patients for depression, 400 opportunities to

        screen perinatal patients for substance use and 74 opportunities to refer patients to

        additional mental health or substance use support

    -   Loss of funding to support program evaluation, which is used to ensure comprehensive

        progress reports, quality programming and efficient and effective use of funding.

    -   Loss of funding for BHA’s vendor for this program (CPCQC), who is both a backbone

        organization for and implementer of the IMPACT BH program.

    -   Cancellation of workforce development initiatives, including perinatal mental health and

        substance use trainings impacting at least 30 participants already registered for trainings.

        Big picture, this affects the entire caseload of those 30 providers (ie. providers not being

        as well equipped to treat perinatal individuals equitably and with gold standard best

        practices.)

    -   Loss of funding to support 7 local continuum of care groups, with an average of 10

        participants across clinical, community and government agencies at each meeting to

        collaboratively address gaps in perinatal behavioral health care.
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